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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
         v.                                      :   Case No. 21-cr-75 (RDM)
                                                 :
MATTHEW RYAN MILLER,                             :
                                                 :
         Defendant.                              :


  UNITED STATES’ SUPPLEMENTAL OPPOSITION TO DEFENANT’S AMENDED
      MOTION FOR MODIFICATION OF PRETRIAL DETENTION ORDER

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this supplemental opposition to the defendant’s

Amended Motion for Modification of Pretrial Detention Order (ECF No. 12).

         Since the filing of its initial Opposition (ECF No. 14), the government has located

additional video evidence of the defendant’s participation in the riots on January 6, 2021. The

video depicts the defendant pushing with a large crowd against the same entrance to the U.S.

Capitol that was guarded by members of the U.S. Capitol Police and the Metropolitan Police

Department that the defendant was photographed deploying a fire extinguisher into. In the video,

the crowd appears to be chanting “Heave! Ho!” as it rocks back and forth in the direction of the

entrance. Screenshots of this video are posted below (the defendant is circled on the bottom right

hand of the photos). In the first screenshot, the defendant is captured facing away from the tunnel,

waiving his hand, and appears to say, “Come on,” though you cannot hear the words over the

crowd.




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In the second screenshot, the defendant is further observed putting up his fingers and yelling at the

same      time       what      appears       to       be,    “one,      two,      three,      push!”




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       Contrary to the defendant’s argument that he was only “protesting” and “left soon after he

saw that other protestors were engaging in violent and dangerous behavior” (ECF No. 12 at 6), the

defendant was not only calling for others to assist in pushing through law enforcement, but he

encouraged others and repeatedly attempted to push through with the crowd himself.

       The government submits that the Bail Reform Act factors continue to weigh in favor of

detention and that there is no condition, or combination of conditions, that would ensure the safety

of the community if the defendant was released. The government respectfully requests that the

Court deny the defendant’s Amended Motion for Modification of Pretrial Detention Order (ECF

No. 12).

                                              Respectfully submitted,

                                              MICHAEL R. SHERWIN
                                              ACTING UNITED STATES ATTORNEY
                                              New York Bar No. 4444188

                                      By:      /s/ Kaitlin A. Vaillancourt
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon counsel of
record, this 14th day of February, 2021.
                                                       /s/
                                                     Kaitlin A. Vaillancourt
                                                     Assistant United States Attorney

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